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APPENDIX IV
. TAB V
 

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Intelligent Denials
Bush's science adviger gaid one important hing about politicized science in a nacent appeesrance. But any one.

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Print Frigndty + Email Article

WWinen it's your job to sarve as the president's in-house expen on scierce and lachnolagy, being constantly in the media spatlight
isnt necessarily a mark of digi nection. Bot for President Bush's stoicully iiclinad science adviser Jahn Marburger, irrnense
controversy followed 43 blanket dismissal [ast year of allegations (now andarsed by 48 Nobel! laureates) that the adminisvaton
has systamatica!ly abused science. So i was more than a little refreshing last Weonesday to hear Marburger take a strong
stance against science politi¢izelion and abuse on one issue where it really matters. evolution.

Speaking at the annual conference of the National Asscqalion af Sciance Wriers, Marburger fielded an audience question about
“ntekigent Design" (10), the latest supposedly scientifig_ aliernative to Chares Darwin's lheery pF dageert with mooihcation. The

White House's chief scientist stated point blank, "Intelligent Dasign is noc a scientific theory " And that's ret all -. as f to ran the
paint home Marburger soon cortiqed. “I don't regard Intalligant Des 95 a scientiie tepie”

Marburger’s woeds mark o departure for this administration, While campasicning for the presidency in Tua’, then-Governar Bush
stroked his seligiougl: conservative foliowers cy defending the laaching of creationism alorgsde evalulian and stating. "| bedeve
children ought to be exposed te diffe-ert theories abaut how the world etened.” And in response ta a questian fram scierce
magazine during ihe 2004 race, Bush's campaign ducked the ID issue by seating, “The faderal government has no contro: over
lazal curricuia, end itig met the feceral government's ola to toll etales and iocal boards nf education what they should iach en
ihe class*oorm."

In comparison with these statements. Marburger miaced re words about the ackentife stan of ID. In Fact, GOP trikesl iigqestt
Dexig: nacsters like Senator Rick Santarum of Pennsylvania (where a coud casa over ID is now pending) may be extremely
miffed by Marburger's stanne.

Alas, Ma‘burger's fortorightness about iD waan'l matched by his distuss.sr far lack inareof) of charges that the Bush
administraton has systematically abused and distorted ecientiic infomstian

At Ihe National Associaton cf Saence viiters session. Marburger shared sha stage with Representatve Henry Waxman, a
Dernacral who has relentlessly pursvec and publinzed allegations thal the administration has ‘nterfeed with the process by
which scientific sdvine makas iis way to policy-marers, Speakeng prior ie Marbueger, Waxman slammed la Gush adrainistation
for abuses ranging florn the stacking of sciertitn advsary ganals ta monkeying wilh research en iercury polluter, The
congressman ao charged that Marhurger’s previcusly published rebuttal ta changes of science abuse - delivered in response
lo a statement and report on the suajectlast yearby te Union pf Concered Scientsas (UCB) -- amounted te “aseanted denials
with lithe suppa‘ting eviuence."

Winen Maruurger tock the stage he ignored Waxman's sark criticsms entirely, asf lbey somehow didsh ment addressing
Instead. the presidents sqence adviser delivered a detightul speech about four challenges" tor science ipurnaligns. Tha
disconnect was stunning, and ganarally continued throughout the question and answer sessian during which Maraurges dodged
VWiosran repesedly.

In trun, Marcburger's elusiveness nay reflect consderable wisdam Considecing [hat now tales cf Buen aaminsirglign ac ance
abuse sce to pop up cegularly, lhis probably ign'ta debate he can win,

Just last week, “i faci some of the most slung evidence yetemerged compe ning Irs Guan administraicn’s irestment o
sGlence and qaveriment ecientisls, rourtesy of tha UCS and the PLbls Peniployeess for Cewrenmantal Responsibinty (HEFRi. Ad
the eerter of the controversy was the (isn aewl Yildlife Serene (FuWS), 4 Ganch of the Interios Depsriment charged wih
enforcement of the Endangercd Specs Act.
 

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Determining how and whether to protect species necessarily depends on using scientific analyses to find quit they're in peril
and what's causing the problem. And a8 now seems clear, the Bush FUS nag repratecly sought fo dacter the dala in aeder tg
prevent tougher endange-ed-speotes protections that rankle varies industry canstiuensias — development. ranching, mining,
lagging, and én ory,

Tha LCS and PEER sent auiivays about science politicization te more than a thousand FS scientists. and received same 400
[findings] that are protective of species." Qne cut of five added that they had beer “cirecied to nsppraprately exclude or alter
technics! information fram a USFS acientiic document" Half said hey were aware of pases iwc “Ca timerial ime ests
have inaporopriately induced the reversal ar withdrawal of scientific conslusigns or densiangs thrugh political jnlemverntion " Ard
50 on,

This is damning stuff, anc raflecls a clear sense amang many government scientists that politics has carupted the sciance
hased endangereg-species-pratection process. Granied, its possible that every singia ene of these Fish and Wildlife Sanne
Survey respondents nas an ax ba grind Fat it isn’) wery likely.

Maiburger was’! asked about these s_rvey rosults lasl week. But given his consiztency in petending the White House in the
past, one suspacts he would eche arguments alrmeacy offered By the Interior Gepartment -- the agencies weren't acting
inappropriately. its OK tor supendass to review the scien‘ific conclusions at scientists warking under ine, this happens ail the
ime. ete. Yawn

Thank goodoess thal on evolution. af asi, Marnurger strays fram 1fe mack

Chris Mooney is @ Prospect serie: turresooode{ whose TAP Ching conte appears vach week. His boow an the potiticzation
of science wilt Le puliighed later dies year Op Brgie Geoks. His daly blog and offer awvatage can be found ar

Wey, CHO SmOUey Gor.

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